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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

 DIANA L. FERNANDEZ,

         Plaintiff,

                 v.
                                                         Case No.: 1:19-CV-00297-RB/KK
 HARTFORD LIFE AND ACCIDENT
 INSURANCE COMPANY,

         Defendant.


    DEFENDANT HARTFORD LIFE AND ACCIDENT INSURANCE COMPANY’S
        NOTICE OF FILING ADMINISTRATIVE RECORD UNDER SEAL

        Pursuant to the Court’s June 14, 2019 Order (ECF 14), Defendant Hartford Life and

Accident Insurance Company filed under seal the indexed and numbered copy of the

Administrative Record as follows:

        Index of the Administrative Record:

        1.      Administrative Record (Long-Term Disability Claim File) (HLAICDFAR000001-

640).

        2.      Administrative Record (Short-Term Disability File) (HALICDFAR000641-736).

        3.      Administrative Record (Life Waiver of Premium File) (HLAICDFAR000737-

747).

        4.      Policies Nos. GLT-395155, GRH-395191, GRH-395155, and GL-395155

(HLAICDFPOL000001-147).

        5.      Certificate of Coverage for Policy No. GL/GLT/GRH-395155

(HLAICDFPOL000148-158).
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        A copy of the Administrative Record was produced to Plaintiff’s counsel on May 30,

2019.

        DATED this 21st day of June 2019.

                                            OGLETREE, DEAKINS, NASH, SMOAK &
                                            STEWART, P.C.

                                            By:     /s/ Kristina N. Holmstrom
                                                   Kristina N. Holmstrom, SBN 023384
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                                                   2415 East Camelback Road
                                                   Phoenix, AZ 85016

                                                   Attorneys for Defendant Hartford Life and
                                                   Accident Insurance Company




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                                 CERTIFICATE OF SERVICE

       The undersigned attorney for Hartford Life and Accident Insurance certifies that on this

21st day of June 2019, the foregoing was FILED UNDER SEAL with the Clerk of Court using

the CM/ECF system, which will provide notification of such filing upon counsel for Plaintiff in

this action via the CM/ECF system and addressed as follows:

        Donald D. Vigil
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        100 Fourteenth St. SW
        Albuquerque, NM 87102
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                                            OGLETREE, DEAKINS, NASH, SMOAK &
                                            STEWART, P.C.

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